
In re Biddle, Kenneth; — Plaintiff(s); applying for supervisory and/or remedial writ; Parish of Orleans, Criminal District Court, Div. “I”, No. 385-960; to the Court of Appeal, Fourth Circuit, No. 98KW-0556.
Writ granted in part; otherwise denied. The district court is ordered to supply relator with a copy of the transcript of his guilty plea colloquy. State ex rel. Simmons v. State, 93-0275 (La.12/16/94), 647 So.2d 1094. In all other respects, the application is denied. State ex rel. Bernard v. Cr.D.C., 94-2247, p. 1 (La.4/28/95), 653 So.2d 1174, 1175.
MARCUS, J., not on panel.
